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 4                             UNITED STATES DISTRICT COURT
 5                                     DISTRICT OF NEVADA
 6
     TAMMY MICHELLE FRANCHIA,
 7                                                            Case No.: 2:20-cv-01244-NJK
            Plaintiff(s),
 8                                                                      ORDER
     v.
 9                                                                   (Docket No. 5)
     COMMISSIONER OF SOCIAL SECURITY,
10
            Defendant(s).
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12         On July 7, 2020, the Court granted Plaintiff’s request to proceed in forma pauperis with
13 the caveat that the fees shall be paid if recovery is made and dismissed Plaintiff’s complaint with
14 leave to amend for failing to satisfy the basic requirements of the Court’s screening of social
15 security appeals. Docket No. 4 at 2.
16         Pending before the Court is Plaintiff’s amended complaint. Docket No. 5. The Court has
17 reviewed Plaintiff’s amended complaint and finds that it satisfies the basic requirements for the
18 Court’s screening of social security appeals as set out in Docket No. 4 at 1–2.
19         Accordingly, the Court hereby ORDERS as follows:
20         1. The Clerk of Court shall serve the Commissioner of the Social Security Administration
21             by sending a copy of the summons and amended complaint by certified mail to: (1)
22             Office of Regional Chief Counsel, Region IX, Social Security Administration, 160
23             Spear St., Suite 899, San Francisco, California 94105-1545; and (2) the Attorney
24             General of the United States, Department of Justice, 950 Pennsylvania Avenue, N.W.,
25             Room 4400, Washington, D.C. 20530.
26         2. The Clerk of Court shall issue summons to the United States Attorney for the District
27             of Nevada and deliver the summons and amended complaint to the U.S. Marshal for
28             service.

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 1   3. From this point forward, Plaintiff shall serve upon Defendant or, if appearance has been
 2      entered by counsel, upon the attorney, a copy of every pleading, motion or other
 3      document submitted for consideration by the Court. Plaintiff shall include with the
 4      original paper submitted for filing a certificate stating the date that a true and correct
 5      copy of the document was personally served or sent by mail to the defendants or
 6      counsel for the defendants. The Court may disregard any paper received by a district
 7      judge or magistrate judge which has not been filed with the Clerk, and any paper
 8      received by a district judge, magistrate judge or the Clerk which fails to include a
 9      certificate of service.
10   IT IS SO ORDERED.
11   Dated: July 9, 2020
12                                                        ______________________________
                                                          Nancy J. Koppe
13                                                        United States Magistrate Judge
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